Exhibit 1
 REDACTED
From: Platt, Sarah J. <sarah.platt@ogletree.com>
Sent: Thursday, December 27, 2018 12:56 PM
To: Sam Strauss <Sam@turkestrauss.com>
Subject: RE: Sanvello Health | Monika Roots [ODNSS-OGL.053535.000005]



Hi Sam,




I hope you have a happy New Year and that we continue to cross paths in 2019 (though, for our
clients’ sakes, hopefully not on this matter).



Sarah J. Platt | Ogletree, Deakins, Nash, Smoak & Stewart, P.C.
Pabst Boiler House, 1243 North 10th Street, Suite 200 | Milwaukee, WI 53205 | Telephone: 414-239-6416
| Fax: 414-755-8289


sarah.platt@ogletree.com | www.ogletree.com | Bio
From: Sam Strauss <Sam@turkestrauss.com>
Sent: Thursday, December 20, 2018 1:22 PM
To: Platt, Sarah J. <sarah.platt@ogletreedeakins.com>
Subject: Re: Sanvello Health | Monika Roots [ODNSS-OGL.053535.000005]



Yes, she has been offered the position.




Thanks.

Sam




From: Platt, Sarah J. <sarah.platt@ogletree.com>
Sent: Thursday, December 20, 2018 1:50 PM
To: Sam Strauss
Subject: RE: Sanvello Health | Monika Roots [ODNSS-OGL.053535.000005]




Thanks, Sam. I will get this over to Teladoc today.

Do you know if Dr. Roots has been offered the position?




I hope you are having a great holiday season.




Sarah J. Platt | Ogletree, Deakins, Nash, Smoak & Stewart, P.C.
Pabst Boiler House, 1243 North 10th Street, Suite 200 | Milwaukee, WI 53205 | Telephone: 414-239-6416
| Fax: 414-755-8289
sarah.platt@ogletree.com |www.ogletree.com |Bio
From: Sam Strauss <Sam@turkestrauss.com>
Sent: Thursday, December 20, 2018 11:49 AM
To: Platt, Sarah J. <sarah.platt@ogletreedeakins.com>
Subject: Sanvello Health | Monika Roots




Good morning, Sarah:




I hope this email finds you well.




Attached, please find the job discription associated with Dr. Roots’ potential position with
United Healthcare.




Should you have any questions, please do not hesitate to reach out.




I hope our paths cross again in the New Year.




Sam




Sent via iPhone, please excuse errors.

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